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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 Melissa Alexander, on behalf of herself and                  1:20-cv-04129
                                                     Case No. _______
 all others similarly situated,
                                                     CLASS ACTION COMPLAINT
                Plaintiff,
                                                     JURY TRIAL DEMANDED
                v.

 Deloitte Consulting, LLP,

                Defendant.


       Plaintiff Melissa Alexander (“Plaintiff”) brings this class action against Defendant Deloitte

Consulting, LLP (“Deloitte” or “Defendant”). Plaintiff makes the following allegations upon

personal knowledge as to her own acts, and upon information and belief, and the investigation of

counsel as to all other matters.

                                   NATURE OF THE ACTION

       1.      In the wake of the COVID-19 pandemic, Defendant contracted with various state

agencies—including the Ohio Department of Job and Family Services, the Illinois Department of

Employment Security, and the Colorado Department of Labor and Employment—to help states

administer the federal Pandemic Unemployment Assistance (“PUA”) program by designing,

building, and maintaining web-based portals through which individuals may apply for

unemployment benefits and communicate with state officials.

       2.       Defendant failed to take reasonable and adequate measures to secure the personally

identifiable information (“PII”) of Plaintiff and similarly situated individuals (the class members,

as defined below) in the course of designing, building, and maintaining computerized

unemployment systems for multiple state agencies.



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        3.        Because of Defendant’s failure to exercise due care, members of the public were

able to access unemployment applicants’ PII, including social security numbers. As a result,

Plaintiff and the class members have been injured through the loss of control of their PII, the need

to take appropriate steps to mitigate their injury, and the heightened and imminent risk of identity

theft or fraud.

                                               PARTIES

        4.        Plaintiff Melissa Alexander is a resident of Blacklick, Ohio. She filed a claim for

unemployment benefits on May 13, 2020, through the PUA portal available to Ohio residents. On

May 20, 2020, she received an email from the Ohio Department of Job and Family Services

advising that her “name, Social Security number, and street address pertaining to [her] application

for receipt of unemployment compensation benefits” were compromised and made available to

other unemployment applicants.

        5.        Defendant Deloitte Consulting, LLP, is a Delaware limited liability company with

its principal place of business located at 30 Rockefeller Plaza, New York, NY 10112.

                                   JURISDICTION AND VENUE

        6.        This Court has subject matter jurisdiction because this is a class action, the matter

in controversy exceeds $5 million (exclusive of interest and costs), and there is minimal diversity.

28 U.S.C. § 1332(d)(2).

        7.        The Court has personal jurisdiction because Defendant is headquartered in this

District.

        8.        Venue is proper because Defendant is headquartered in this District. 28 U.S.C.

§ 1391(b)(1).




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                                            FACTS

       9.      The PUA program provides expanded unemployment benefits to workers affected

by COVID-19. 1

       10.     Unemployment benefits are provided and administered by state governments.

       11.     Some state governments, including at least Ohio, Illinois, and Colorado, contracted

with Defendant for its ability to provide public sector labor and employment services, including

unemployment insurance solutions such as claims services, wage determinations, benefit payments

control, reporting services, administrative services, and document management services. 2

       12.     In designing, building, maintaining, and operating PUA portals, Defendant was

entrusted with unemployment applicants’ PII, including that of Plaintiff and the absent class

members.

       13.     Defendant assumed a duty to keep unemployment applicants’ PII secure.

       14.     Defendant knew that safeguarding unemployment applicants’ PII is critically

important because of the harm flowing from a compromise of that data. Indeed, the U.S. Federal

Trade Commission (“FTC”) publishes a guide for businesses about protecting PII. 3

       15.     Defendants’ cloud-based PUA portal went live on approximately May 11, 2020,

despite lacking appropriate safeguards to protecting unemployment applicants’ PII.




1
 U.S. Dep’t of Labor, U.S. Dep’t of Labor Publishes Guidance on Pandemic Unemployment
Assistance, Apr. 5, 2020, https://www.dol.gov/newsroom/releases/eta/eta20200405 (last visited
May 26, 2020).
2
 Deloitte, Public Sector Labor and Employment services | uFACTS,
https://www2.deloitte.com/us/en/pages/public-sector/solutions/unemployment-insurance-
services.html (last visited May 26, 2020).
3
 FTC, Protecting Personal Information: A Guide for Business, Oct. 2016,
https://www.ftc.gov/tips-advice/business-center/guidance/protecting-personal-information-guide-
business (last visited May 26, 2020).


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       16.     On May 16, 2020, Illinois acknowledged a “glitch” in Defendant’s PUA system

that “made some private information publicly available.” 4 Although the exact number of Illinois

residents affected by this data breach has not been publicly disclosed, 44,000 workers applied for

unemployment benefits using Defendant’s PUA portal on the first day it was available. The

number of applicants since that time is likely substantially higher.

       17.     On May 19, 2020, Colorado acknowledged “a limited and intermittent data access

issue,” by which unemployment applicants were granted access to other applicants’ private

correspondence with the state—which included social security numbers. 5 A reported 72,000

individuals were affected in this manner.

       18.     Ohio acknowledged, via emails to unemployment applicants, that information

including social security numbers, names, and addresses “inadvertently had the capability to be

viewed by other claims.” 6 A reported 130,000 unemployment applicants were affected. 7




4
  Dan Mihalopoulos et al., “Glitch” in New Illinois Unemployment System Made Private
Information Public, WBEZ, May 16, 2020, https://www.wbez.org/stories/glitch-in-new-illinois-
unemployment-system-made-private-information-public/22b1dd10-4d79-4ddd-b14c-
799ecdaa3ca6 (last visited May 26, 2020).
5
  Joe Rubino, 72,000 on Pandemic Unemployment Assistance in Colorado Had Private
Information Exposed, Denver Post, May 19, 2020,
https://www.denverpost.com/2020/05/19/colorado-pandemic-unemployment-assistance-
informatoin-exposed-coroanvirus-covid/ (last visited May 26, 2020).
6
 Cheyenne Haslett, Struggle of Unemployment Claimants Compounded by Data Breach, ABC
News, May 21, 2020, https://6abc.com/struggle-of-unemployment-claimants-compounded-by-
data-breach/6201835/ (last visited May 26, 2020).
7
 Cornelius Frolick, Security Problem Could Affect 130K Ohio Unemployment Seekers, Dayton
Daily News, May 20, 2020, https://www.daytondailynews.com/news/local/security-problem-
could-affect-130k-ohio-unemployment-seekers/Gj1jHOSkbDZOYLG2elVT4L/ (last visited May
26, 2020).


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        19.     Recognizing the harm associated with a data breach of this nature, Deloitte is

offering 12 months of free credit monitoring to all PUA unemployment applicants in Ohio,

Colorado, and Illinois.

        20.     Plaintiff became aware of this data security breach when she received an email from

the Ohio Department of Job and Family Services on May 20, 2020. That email stated: “Deloitte

discovered on May 15, 2020 that your name, Social Security number, and street address pertaining

to your application for and receipt of unemployment compensation benefits inadvertently had the

capability to be viewed by other unemployment claimants.”

        21.     As a direct and proximate result of Defendant’s inadequate data security

practices—in particular, making communications through the PUA portal, including applicants’

PII, publicly available to other applicants—Plaintiff and the class members have sustained a

concrete injury.

        22.     Plaintiff and class members face a significant risk of identity theft and fraud and

will likely incur additional out-of-pocket costs as part of reasonable efforts to mitigate identity

theft or fraud. The information exposed in the data breach is the information needed to obtain

unemployment benefits, apply for and obtain lines of credit, and engage in other credit-related or

financial activities.

        23.     Plaintiff and class members will spend substantial amounts of time and expense

monitoring their accounts to identify fraudulent or suspicious activity, canceling and reissuing

cards, purchasing credit monitoring and identity theft prevention services, attempting to withdraw

funds linked to accounts that have been compromised or frozen, removing withdrawal and

purchase limits on accounts that have been frozen, communicating with financial institutions to

dispute fraudulent charges, resetting automatic billing instructions, freezing and unfreezing credit




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bureau account information, cancelling and resetting payment card information and automatic

payments, and paying late fees and declined payment penalties as a result of failed automatic

payments.

        24.     Plaintiff and class members have lost the value of their PII and the opportunity to

control how it is used.

        25.     PII has value on the black market. This type of PII permits many types of fraud,

including obtaining government benefits, filing a fraudulent tax return, or obtaining a false identity

that can create a false work history or arrest record. 8

        26.     Social security numbers are particularly problematic PII to lose control of because

they are difficult to change, even for victims of a data breach. Changing a social security number

is a process requiring evidence of continuing misuse and continuing harm, and yet even that may

not alleviate a victim’s problems because a new number does not guarantee a new credit profile

that has been wiped clean of incorrect information caused by fraud (and even if it did, the consumer

may lose the benefits of their accurate credit history).

                                CLASS ACTION ALLEGATIONS

        27.     Pursuant to Federal Rule of Civil Procedure Rule 23(b)(3), Plaintiff brings this

lawsuit on behalf of herself and on behalf of the proposed nationwide class (the “Class”) defined

as follows:

        All persons residing in the United States whose PII was compromised as a result of
        the PUA portal data breach.




8
 Brian Stack, Here’s How Much Your Personal Information Is Selling for on the Dark Web,
Experian Blog (Mar. 11, 2019), https://www.experian.com/blogs/ask-experian/heres-how-much-
your-personal-information-is-selling-for-on-the-dark-web/ (last visited May 26, 2020).


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       28.     Plaintiff also seeks certification of a proposed Ohio class (the “Ohio Class”)

pursuant to Rule 23(b)(3), defined as follows:

       All persons residing in Ohio whose PII was compromised as a result of the PUA
       portal data breach.

       29.     Excluded from the Class and Ohio Class are Defendant and any entities in which

Defendant or its subsidiaries or affiliates have a controlling interest; Defendant’s officers, agents,

and employees; and all persons who make a timely election to be excluded from the Class and

Ohio Class. Also excluded from the Class and Ohio Class are the judges and court personnel in

this action and any members of their immediate family.

       30.     Numerosity: The members of the Class and Ohio Class are so numerous that

joinder of all class members would be impracticable. Plaintiff reasonably believes that class

members number in the hundreds of thousands of people based on information disclosed by Ohio,

Illinois, and Colorado. The names and addresses of the class members are identifiable through

documents Defendant maintains.

       31.     Commonality and Predominance: This action involves common questions of law

or fact, which predominate over any questions affecting individual class members, including:

       a.      Whether Defendant owed a legal duty to Plaintiff and class members to exercise

               due care in collecting, storing, and safeguarding their PII;

       b.      Whether Defendant breached a legal duty to Plaintiff and class members to exercise

               due care in collecting, storing, and safeguarding their PII;

       c.      Whether Defendant had an implied contractual obligation to use reasonable security

               measures in safeguarding the PII;

       d.      Whether Defendant breached its implied contractual obligation to use reasonable

               security measures in safeguarding the PII;



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        e.      What security measures Defendant must use to comply with its implied contractual

                obligation and legal duty to safeguard PII;

        f.      Whether Defendant’s security measures to protect its computer systems were

                reasonable in light of industry data security standards and recommendations;

        g.      Whether Defendant willfully, recklessly, or negligently failed to maintain and

                execute reasonable procedures designed to prevent unauthorized access to

                Plaintiff’s and class members’ PII;

        h.      Whether Plaintiff’s and class members’ PII was accessed, exposed, compromised,

                or stolen;

        i.      Whether Defendant was negligent in failing to implement reasonable and adequate

                security procedures and practices;

        j.      Whether Plaintiff and class members are entitled to equitable relief, including, but

                not limited to, injunctive relief; and

        k.      Whether Plaintiff and class members are entitled to damages or other monetary

                relief, and the amount thereof.

        32.     Defendant engaged in a common course of conduct giving rise to the legal rights

sought to be enforced by Plaintiff individually and on behalf of the class members. Similar or

identical legal violations, business practices, and injuries are involved. Individual questions, if any,

pale by comparison, in both quantity and quality, to the numerous common questions that dominate

this action.

        33.     Typicality: Plaintiff’s claims are typical of class members’ claims because, among

other things, Plaintiff and class members were injured through Defendant’s substantially uniform

misconduct. Plaintiff is advancing the same claims and legal theories on behalf of herself and class




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members, and there are no defenses that are unique to Plaintiff’s claims. Plaintiff’s and class

members’ claims arise from the same operative facts and are based on the same legal theories.

       34.     Adequacy of Representation: Plaintiff is an adequate representative of the Class

and Ohio Class because her interests do not conflict with the interests of the other class members

she seeks to represent; Plaintiff has retained counsel competent and experienced in complex class

action litigation, including data privacy and data security practices litigation; and Plaintiff will

prosecute this action vigorously for the benefits of the Class and Ohio Class. Class members’

interests will be fairly and adequately protected by Plaintiff and her counsel.

       35.     Superiority: A class action is superior to any other available means for the fair and

efficient adjudication of this controversy, and no unusual difficulties are likely to be encountered

in the management of this matter as a class action. The damages, harm, or other financial detriment

suffered individually by Plaintiff and class members is relatively small compared to the burden

and expense that would be required to litigate their claims on an individual basis against Defendant,

making it impracticable for class members to individually seek redress for Defendant’s wrongful

conduct. Even if class members could afford individual litigation, the court system could not.

Individualized litigation would create a potential for inconsistent or contradictory judgments and

increase the delay and expense to all parties and the court system. By contrast, the class action

device presents far fewer management difficulties and provides the benefits of single adjudication,

economies of scale, and comprehensive supervision by a single court.




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                                     CAUSES OF ACTION

                                            COUNT I

                                            Negligence

        36.     Defendant owed a duty of care to Plaintiff and members of the Class and Ohio Class

to use reasonable means to secure and safeguard the PII and to prevent its unauthorized access and

disclosure.

        37.     Defendant’s duty of care arises from Plaintiff and class members entrusting it with

their PII, under common law principles.

        38.     Defendant also had a duty to provide adequate data security pursuant to the FTC

Act, 15 U.S.C. § 45, which defines failure to use reasonably necessary measures to protect PII as

a prohibited unfair practice in or affecting commerce.

        39.     Defendant breached its duty by failing to use security practices that would protect

the PII provided to it by Plaintiff and class members, thereby resulting in unauthorized third-party

access to the PII. Defendant failed to utilize and manage processes that would safeguard and

protect Plaintiff and class members’ PII.

        40.     As a direct and proximate result of Defendant’s failure to use appropriate security

practices, Plaintiff and class members’ PII was made available to third parties.

        41.     The data breach caused direct and substantial damages to Plaintiff and class

members.

        42.     Plaintiff and class members did not contribute to the breach or subsequent misuse

of their PII.

        43.     On behalf of herself and the Class and Ohio Class, Plaintiff seeks actual and

compensatory damages, in an amount to be proven at trial.




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                                           COUNT II

                                  Breach of Implied Contract

       44.     When Plaintiff and members of the Class and Ohio Class provided their PII to

Defendant, they entered into implied contracts by which Defendant agreed to protect their PII.

       45.     Defendant invited unemployment applicants, including Plaintiff and class

members, to use its PUA portal.

       46.     An implicit part of Defendant’s offer was that it would safeguard the PII using

reasonable or industry-standard means.

       47.     Based on this understanding, Plaintiff and class members accepted this offer and

provided Defendant their PII through the portal.

       48.     Plaintiff and class members would not have provided their PII had they known

Defendant would not safeguard it as impliedly promised.

       49.     Plaintiff and class members fully performed their obligations under the implied

contracts with Defendant.

       50.     Defendant breached the implied contracts by failing to safeguard Plaintiffs’ and

class members’ PII.

       51.     Defendant’s breach of the implied contract caused direct and substantial damages

to Plaintiff and class members.

       52.     On behalf of herself and the class, Plaintiff seeks actual and compensatory

damages, in an amount to be proven at trial.

                                          COUNT III

                                      Unjust Enrichment

       53.     Defendant was enriched through its contracts with states, including Colorado,

Illinois, and Ohio, by which it provided PUA portals and related services.


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        54.        Defendant collected Plaintiff and Class members’ and Ohio Class members’ PII

through those PUA portals.

        55.        Defendant saved costs it should have spent on ensuring the security of Plaintiff and

class members’ PII.

        56.        Defendant retained the benefit of the contracts it had with the states, and it retained

Plaintiff and class members’ PII, but it failed to provide and utilize adequate measures to protect

the security of Plaintiff and class members’ PII.

        57.        Under these circumstances, Defendant’s retention of that benefit is unjust and

violative of principles of equity and good conscience.

        58.        On behalf of herself and the class, Plaintiff seeks restitution, in an amount to be

proven at trial.

                                        PRAYER FOR RELIEF

        59.        Plaintiff, on behalf of herself and all others similarly situated, requests that the

Court enter judgment as follows:

                   a.     An order certifying the Class and Ohio Class, appointing Plaintiff as class

                          representative, and appointing the undersigned counsel as class counsel;

                   b.     Actual and compensatory damages, in an amount to be proven at trial;

                   c.     Equitable disgorgement and restitution, in an amount to be proven at trial;

                   d.     Pre- and post-judgment interest, to the full extent permitted by law;

                   e.     Payment of reasonable attorneys’ fees and costs; and

                   f.     Any other relief that this Court deems just and proper.

                                     DEMAND FOR JURY TRIAL

        Plaintiff requests a trial by jury on all issues so triable.




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Dated: May 29, 2020               /s/ Katherine M. Aizpuru
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